     Case 2:17-cr-00060-DAD-DB Document 268 Filed 08/10/20 Page 1 of 2


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8                                UNITED STATES DISTRICT COURT
9                               EASTERN DISTRICT OF CALIFORNIA
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11    UNITED STATES OF AMERICA,                      No. 2:20-mc-00149-MCE-KJN
12                      Plaintiff,                   No. 2:17-cr-00060-MCE
13              v.
14    PAMELA STEPHANIE EMANUEL,                      RELATED CASE ORDER
15                      Defendant and
                        Judgment Debtor.
16

17    CALIFORNIA PUBLIC EMPLOYEES’
      RETIREMENT SYSTEM (CALPERS),
18    and its Successors and Assigns,
19                      Garnishee.
20

21          The Court has received the Notice of Related Case filed on July 29, 2020.
22          Examination of the above-entitled actions reveal that these cases are related
23   within the meaning of Local Rule 123(a) (E.D. Cal. 1997). The actions arise from the
24   same ongoing law enforcement investigation, share common legal issues and involve
25   related parties, and would therefore entail a substantial duplication of labor if heard by
26   different judges. Accordingly, the assignment of the matters to the same judge is likely
27   to effect a substantial savings of judicial effort and is also likely to be convenient for the
28   parties.
                                                     1
     Case 2:17-cr-00060-DAD-DB Document 268 Filed 08/10/20 Page 2 of 2


1             Because the cases are already assigned to the same district judge, this Order is
2    issued for informational purposes only and shall have no effect on the status of the
3    cases.
4             IT IS SO ORDERED.
5             Dated: August 7, 2020
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